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    In the Interest of Tahlaia Jaide Deld Disability Trust Tony A. Delk, Jr., Petitioner  v.  Colorado Fund for People with Disabilities. Respondent No. 24SC615Supreme Court of Colorado, En BancApril 21, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA2209
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    